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Northern District of Texas
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United States of America )
v. ) Deputy
, ) Case No.
CHRISTOPHER L. REED 3:19-MJ-1123-BN
)
= )
Defendant(: ‘S)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 19, 2019 in the county of Dallas in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1708 Theft or receipt of stolen mail matter by stealing, taking, or abstracting from

the mail, letters, postal cards, packages, bags or mail, labeled as U.S. mail
and dispatched by USPS in Austin, TX to be delivered to the Indianapolis, IN
Mail Processing Annex (MPA)

This criminal complaint is based on these facts:

See attached Affidavit of Postal Inspector Jeffrey Fobbs Jr.

am Continued on the attached sheet. AA,

Cc planar 's signature

Geopronle Jr., Postal Inspector, USPIS

 

Prifited.name.and title

Sworn to before me and signed in my presence.

 
  

LF

Date:
— Judge's signature

 

City and state: Dallas, Texas DAVID L. HORAN, U.S. Magistrate Judge

_ Printed name and title
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA _ )

)

VS. )

)

CHRISTOPHER L. REED )
AFFIDAVIT IN SUPPORT OF

CRIMINAL COMPLAINT

 

I, Postal Inspector Jeffrey Fobbs Jr., being duly sworn, depose and state the
following is true and correct to the best of my knowledge and belief:
On or about December 19, 2019, in Dallas County, in the Northern District of

Texas, Christopher L. Reed, did unlawfully steal, take, or abstract from the U.S.
mail letters, postal cards, packages, bags, or mail, in violation of 18 U.S.C. § 1708.

1. I make this affidavit in support of a complaint and application for an arrest
warrant. I am a Postal Inspector employed by the United States Postal Inspection
Service (USPIS) and have been so employed since February 2014. I am currently
assigned to the Dallas Mail Theft/Violent Crimes Team. My responsibilities as a
member of the Mail Theft/Violent Crimes Team includes the investigation of mail theft,
robberies, burglaries, access device fraud, and identity theft cases involving U.S. mail.
The information contained in this affidavit was obtained by me through personal
investigation, directly from other investigators and law enforcement officers, and
through review of investigators and law enforcement officers written reports of

investigation. This information is true and correct to the best of my knowledge and
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belief to support the violation of 18 U.S.C. § 1708 (Theft or receipt of stolen mail

matter).

FACTS IN SUPPORT OF PROBABLE CAUSE

1. On December 19, 2019 at approximately 3:00 p.m., Postal Inspector Mark
Dayhuff spoke by phone with a complainant advising that suspects were unloading U.S.
Mail from an 18-wheeler in an alley behind 7544 S. Lancaster Road, Dallas, TX 75241,
in the Northern District of Texas. The complainant advised that U.S. Mail was being
unloaded from the 18-wheeler trailer into two white cars parked by the trailer and a
building next to a carwash where there is a white door facing the alley. I arrived at the
location at approximately 3:40 p.m. and located the business strip with the white door
facing the alley. I also observed the two white vehicles parked at a car wash. The car
wash sign listed the business as, “ROB’S KUSTOM WASH, GODLY CLEAN, 7536 S
LANCASTER RD.” I conducted TEs to identify the drivers of those vehicles
and observe the business.

2. On or about December 19, 2019 at approximately 4:20 p.m., I
observed a white truck tractor (truck used to pull a semi-trailer) pull into the alley
displaying the numbers “713” by the driver’s door and a decal by the driver’s door
displaying, “CVT US DOT 2940029 Des Moines, IA.” I observed a Black male
wearing a black jacket, dark stripe on the sleeves, gray pants, black shoes and low
cut black hair exit the truck tractor. This male, later identified as Christopher L.

Reed, walked between the two white vehicles at the car wash and spoke to an

unknown Black male who exited a dark colored Chevrolet Tahoe wearing a gray
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Florida Gators sweatshirt, dark pants and Florida Gators hat. Mr. Reed and the
unknown Black male were standing around if waiting for someone. Mr. Reed begin
to lean on a white Chevrolet Malibu with Texas license plate MRS2680.

¥, Mr. Reed and the unknown Black male were approached by an unknown
Black male, later identified as “Donny,” and Donny exchanged U.S. currency with the
unknown Black male in the Florida Gators hat. Donny walked away back towards the
business at 7544 S. Lancaster Road, Dallas, TX and the unknown Black male in the

Florida Gators hat left. Mr. Reed continued leaning on the Chevrolet Malibu.

4, On December 19, 2019, at approximately 4:25 p.m., Mr. Reed was
approached by a Black male wearing a dark colored sweatshirt, same dark color
sweatpants and a dark skull cap. This unknown Black male was later identified as
Robert Fisher, owner of Rob’s Kustom Wash. Fisher and Reed had a conversation
at the car wash and both left walking away to their respective vehicles. Reed
entered the driver side of the truck tractor and Fisher entered the driver side of a
white Chrysler 200 bearing Texas license plate GXS5863. Reed and Fisher exited
the car wash parking lot heading northbound on S. Lancaster Road. Reed made a
U-turn and dtove southbound on S. Lancaster Road and was contacted by U.S.
Postal Inspectors at a truck stop at approximately 8181 S Lancaster Road, Dallas,
TX.

4, Reed was identified as a United States Post Office (USPS) Highway
Contract Route (HCR) driver. Reed stated he left Austin, TX on or about December

19, 2019 at 9:00 a.m. and was in Dallas, TX all day. Reed’s paperwork that he
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provided U.S. Postal Inspectors indicated that Reed picked up U.S. Mail from the
USPS Austin, TX Christmas Annex with 60% of his trailer full of outgoing mail from
Austin, TX. The trailer number listed on the USPS Contract Route Extra Trip
Authorization form listed the trailer number as 613. The paperwork stated Reed left
with his trailer on December 18, 2019 at 5:06 p.m. one-way travel to Indianapolis,
IN. Reed took Inspectors to the location where he parked his trailer on an access road
near 2519 Cherry Valley Blvd, Dallas, TX. The trailer was found missing the
lock/seal on the back door and the load was significantly less than 60% load
manifested on the route paperwork provided by Reed. The number listed on the trailer
was verified as 613. Reed did not provide an explanation on what happened to the
U.S. Mail with which he left Austin, TX and could not explain why the seal was
missing from the trailer door. |

6. I spoke to Fisher, who advised he was working at the carwash when two
Black males he know as “Pee-Wee,” and “P.A.T.,” arrived in the truck tractor pulling
the semi-trailer. Fisher stated he did not see any words or numbers on the truck tractor
and semi-trailer and believed Pee-Wee and P.A.T. were riding with the driver of the
truck tractor. Fisher stated Pee-Wee came to purchase marijuana from him, and Pee-
Wee told Fisher the driver of the truck tractor was willing to sell the load on the semi-
trailer but they needed somewhere to put it. Fisher stated that he agreed to open the
door to a vacant suite next to his new business at 7544 S. Lancaster Road, Dallas, TX
(white back door), and Hills Corner Store at 7542 S. Lancaster Road, Dallas, TX.

Fisher stated he unlocked the back door, white in color, and watched Pee-Wee, P.A.T.,
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and other unknown individuals unload the U.S. Mail from the truck into the empty suite.
Fisher admitted he did unload some of the U.S. Mail into the empty suite as well. Fisher
was shown a picture of Reed and stated Reed was the person who was just at the car
wash in the white truck tractor asking for Pee-Wee. Fisher stated he believed Reed was
the driver who came the first time since he asked again for Pee-Wee. Fisher took me
back to the empty suite and his business at 7544 S. Lancaster Road, Dallas, TX. Fisher
showed how he accesses the empty suite from his business by using a door located on
the north wall which allows access into the empty suite and his business. Fisher also
showed the back (white) door through which the U.S. mail was loaded, and the door did
not have a lock. Fisher was asked how did he unlock the door and Fisher stated that he
just opened the door.

Te Several pieces of U.S. mail in other individuals’ names with Austin, TX
return addresses and mailing dates of December 17, 2019 were observed through the
open door. One of the many pieces of U.S. mail was a JPMorgan Chase check #132
mailed by individuals L. and D. K., at a specific house number located on Bankside
Street, Austin, TX 78748, to individual E. W. Another piece of U.S. mail was from
Despair Inc., 800 Interchange Blvd Ste 102, Austin, TX 78721 to an individual D. S. at
a specific location on Preservation Dr., Indianapolis, IN 46278. A third piece of U.S.
mail was a parcel found opened and contents removed from LSO 1200 Richcreek Rd.,

Austin, TX 78757 to 6730 LA Tour Cir, Indianapolis, IN 46278.

Based upon the foregoing, Affiant believes that Christopher L. Reed violated

18 U.S.C. § 1708 (Theft or receipt of stolen mail matter) by stealing, taking, or
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abstracting from the mail, letters, postal cards, packages, bags or mail, labeled as

U.S. mail and dispatched by USPS in Austin, TX to be delivered to the Indianapolis,

Jeffrey Fobbs Jr.

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U.S. Postal Inspector
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IN Mail Processing Annex (MPA).

Subscribed and sworn to before me on December 20, 2019, at | [ Wd Cum.

   
   

 

AVID L. HORAN
U.S. Magistrate Judge
Northern District of Texas
